Case 4:07-cv-05944-JST Document 2843-3 Filed 09/12/14 Page 1 of 4




                       Exhibit 2
                  Case 4:07-cv-05944-JST Document 2843-3 Filed 09/12/14 Page 2 of 4


William Snyder

From:                            Anne Nardacci
Sent:                            Friday, September 05, 2014 2:19 PM
To:                              'Brass, Rachel S.'; 'Fujita, Christine'; Phil Iovieno; 'Guido Saveri (Guido@saveri.com)'; 'Rick
                                 Saveri'; 'Mitsuba:Alioto, Mario Nunzio'; 'Lauren Capurro (Russell)'
Cc:                              'Sanders, Joel S.'; 'mscarborough@sheppardmullin.com'; 'William.Temko@mto.com';
                                 'ccurran@whitecase.com'; 'john.taladay@bakerbotts.com'; 'Mitsuba:Kessler, Jeffrey'
Subject:                         RE: In re Cathode Ray Tube (CRT) Antitrust Litigation; MDL No. 1917 -- EC Decision


Rachel,

Thanks for your email. This will confirm that Defendants do not intend to produce any version of the EC
Decision at this time and thus we are at impasse on this issue. Plaintiffs reserve all rights to seek appropriate
relief, including from the Court.

Anne




-----Original Message-----
From: Brass, Rachel S. [RBrass@gibsondunn.com]
Sent: Thursday, September 04, 2014 11:26 AM Eastern Standard Time
To: Anne Nardacci; Fujita, Christine; Phil Iovieno; Guido Saveri (Guido@saveri.com); Rick Saveri;
Mitsuba:Alioto, Mario Nunzio; Lauren Capurro (Russell)
Cc: Sanders, Joel S.; 'mscarborough@sheppardmullin.com'; 'William.Temko@mto.com';
'ccurran@whitecase.com'; 'john.taladay@bakerbotts.com'; Mitsuba:Kessler, Jeffrey
Subject: RE: In re Cathode Ray Tube (CRT) Antitrust Litigation; MDL No. 1917 -- EC Decision


Anne,

We have contacted the EC case team, and informed them of the discovery deadlines in this case, the
trial deadlines and the Court’s interest in securing a public decision. We understand that they are
cognizant of the Court’s order, but also of their own obligations to comply with EC law and
procedure. Accordingly, they continue to process confidentiality issues and are finalizing their
decision. We further understand that, in the Commission’s view, any disclosure of the confidential
decision would be contravene the Commission’s rules and stated policy on this issue.

Rachel



Rachel S. Brass
Partner

GIBSON DUNN
                                                             1
                 Case 4:07-cv-05944-JST Document 2843-3 Filed 09/12/14 Page 3 of 4

Gibson, Dunn & Crutcher LLP
555 Mission Street, San Francisco, CA 94105-0921
Tel +1 415.393.8293 • Fax +1 415.374.8429
RBrass@gibsondunn.com • www.gibsondunn.com




From: Anne Nardacci [mailto:anardacci@BSFLLP.com]
Sent: Friday, August 29, 2014 9:48 AM
To: Fujita, Christine; Phil Iovieno; Guido Saveri (Guido@saveri.com); Rick Saveri; Mitsuba:Alioto, Mario Nunzio; Lauren
Capurro (Russell)
Cc: Sanders, Joel S.; Brass, Rachel S.; 'mscarborough@sheppardmullin.com'; 'William.Temko@mto.com';
'ccurran@whitecase.com'; 'john.taladay@bakerbotts.com'; Mitsuba:Kessler, Jeffrey
Subject: RE: In re Cathode Ray Tube (CRT) Antitrust Litigation; MDL No. 1917 -- EC Decision

Rachel,

As it is now the very end of August, we would appreciate it if Defendants would provide an update as to the status of the
EC Decision, as contemplated by the parties. Second, Plaintiffs do not agree with Defendants’ contention that “there is
no reason for an alternative with respect to [] discovery” concerning the EC Decision once it is produced and reserve all
rights with respect to taking such discovery.

Anne


From: Fujita, Christine [mailto:CFujita@gibsondunn.com]
Sent: Thursday, August 14, 2014 9:24 PM
To: Anne Nardacci; Phil Iovieno; Guido Saveri (Guido@saveri.com); Rick Saveri; Mitsuba:Alioto, Mario Nunzio; Lauren
Capurro (Russell)
Cc: Sanders, Joel S.; Brass, Rachel S.; 'mscarborough@sheppardmullin.com'; 'William.Temko@mto.com';
'ccurran@whitecase.com'; 'john.taladay@bakerbotts.com'; Mitsuba:Kessler, Jeffrey
Subject: In re Cathode Ray Tube (CRT) Antitrust Litigation; MDL No. 1917 -- EC Decision

Dear Counsel:

Please see the attached correspondence.

Thanks,
Christine

Christine A. Fujita

GIBSON DUNN
Gibson, Dunn & Crutcher LLP
555 Mission Street, San Francisco, CA 94105-0921
Tel +1 415.393.8230 • Fax +1 415.374.8442
CFujita@gibsondunn.com • www.gibsondunn.com



This message may contain confidential and privileged information. If it has been sent to you in error, please
reply to advise the sender of the error and then immediately delete this message.



                                                            2
                      Case 4:07-cv-05944-JST Document 2843-3 Filed 09/12/14 Page 4 of 4
The information contained in this electronic message is confidential information intended only for the use of the named recipient(s) and may contain information
that, among other protections, is the subject of attorney-client privilege, attorney work product or exempt from disclosure under applicable law. If the reader of this
electronic message is not the named recipient, or the employee or agent responsible to deliver it to the named recipient, you are hereby notified that any
dissemination, distribution, copying or other use of this communication is strictly prohibited and no privilege is waived. If you have received this communication in
error, please immediately notify the sender by replying to this electronic message and then deleting this electronic message from your computer. [v.1]




                                                                                   3
